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 7
                               UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
 9 JAQUELINE RAMOS GARCIA, ELOY                       Case No. 2:23-cv-1249-JCM-DJA
   GERARDO ZUNIGA-JIMENEZ,
10                                                    Stipulation and Order to Dismiss with
             Plaintiffs,                              Prejudice
11
        vs.
12
   UNITED STATES OF AMERICA,
13 DOE DEFENDANTS 1-10, inclusive,

14                  Defendants.
15

16           Plaintiffs and Defendant, through their undersigned counsel, stipulate that this
17 action may be dismissed with prejudice, each party to bear its own costs and attorney’s

18 fees.

19           Respectfully submitted this 8th day of November 2024.
20
     YAN KENYON                                       JASON M. FRIERSON
21                                                    United States Attorney
     /s/ Jay A. Kenyon
22   JAY A. KENYON, ESQ.                               /s/R. Thomas Colonna
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25
                                                  IT IS SO ORDERED:
26
27                                                UNITED STATES DISTRICT JUDGE
28                                                DATED: ____________________________
                                                          November 14, 2024
